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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 EUGENE MARTIN LAVERGNE, et al.,
             Plaintiffs
        v.
                                                      Civil Action No. 17-cv-793
 UNITED STATES HOUSE OF
 REPRESENTATIVES, et al.,
             Defendants


                                        ORDER
                                  (September 27, 2019)
       The Court is in receipt of Eugene Martin LaVergne’s Memorandum of Points and
Authorities in Reply to the August 28, 2019 Opposition of the Department of Justice. The
Clerk’s Office of the United States District Court for the District of Columbia sent Mr.
LaVergne’s Reply to this Court so that the Court could indicate whether leave to file is
granted or denied. For the reasons explained below, leave to file is DENIED and Mr.
LaVergne’s [169] Motion for Reconsideration is also DENIED.
        On September 6, 2018, the Court dismissed Mr. LaVergne from this lawsuit,
finding that he was precluded from re-litigating claims which he had previously litigated
in another federal court. ECF No. 127. Mr. LaVergne asked for reconsideration of his
dismissal from this lawsuit, which was denied on January 2, 2019. ECF No. 154. Mr.
LaVergne appealed the dismissal of his claims on January 31, 2019. ECF No. 156.
        On June 11, 2019, the Court dismissed the remaining Plaintiffs’ claims and
dismissed the case in full. ECF No. 164. The remaining Plaintiffs moved for
reconsideration of the dismissal on July 9, 2019. ECF Nos. 167, 168. On that same day,
Mr. LaVergne also filed a Motion for Reconsideration of the June 11, 2019 dismissal.
ECF No. 169. However, Mr. LaVergne’s Motion for Reconsideration of the June 11, 2019
dismissal should not have been filed on the docket. The June 11, 2019 Memorandum
Opinion and Order did not address any of Mr. LaVergne’s claims as his claims had
previously been dismissed on September 6, 2018. As such, Mr. LaVergne had no grounds
to challenge the Court’s June 11, 2019 Memorandum Opinion and Order. Despite the fact
that Mr. LaVergne’s claims had been dismissed prior to the Court’s June 11, 2019
Memorandum Opinion and Order, the Clerk’s Office filed on the docket Mr. LaVergne’s
Motion for Reconsideration of the June 11, 2019 Memorandum Opinion and Order. The
Court now corrects this error and DENIES Mr. LaVergne’s [169] Motion for
Reconsideration.




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       Because Mr. LaVergne’s [169] Motion for Reconsideration has been denied, the
Court also DENIES LEAVE TO FILE Mr. LaVergne’s Reply in Support of his Motion for
Reconsideration.


   SO ORDERED.
                                         /s/ Cornelia T.L. Pillard
                                         CORNELIA T.L. PILLARD
                                         United States Court of Appeals Judge


                                         /s/ Colleen Kollar-Kotelly
                                         COLLEEN KOLLAR-KOTELLY
                                         United States District Judge


                                         /s/ Randolph D. Moss
                                         RANDOLPH D. MOSS
                                         United States District Judge

Date: September 27, 2019




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